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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION


UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    Crim. No. 05-20038-003

FELIX HERRERA, JR.                                                                     DEFENDANT



             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

        Felix Herrera, Jr. is charged in a multi-defendant case with conspiracy to distribute marijuana

and conspiracy to commit money laundering. Trial is scheduled for October 24, 2005.


DISCUSSION

        On September 2, 2005, Herrera filed a motion to suppress. A suppression hearing was

conducted on September 26, 2005. Witnesses were DEA Special Agent Terry Keeter and DEA task

force officer Allen Marx. After the hearing, Herrera filed a motion to continue the suppression

hearing, arguing that the government failed to call as a witness Donna Cheney (Herrera), Herrera’s

wife.

        On April 6, 2005, the undersigned issued an arrest warrant for Herrera pursuant to a criminal

complaint. (Govt’s Ex. 1). The address on the warrant was 175 E. Priddy Street, Magazine,

Arkansas. Officers had been informed that Herrera was staying at the residence with his wife Donna

Cheney.

        On April 7, 2005, Marx and other officers arrived at 7:30 a.m. to execute the warrant and

knocked on the door of the residence. Cheney answered the door, identified herself, and said that
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Herrera was inside asleep in a bedroom.1 Cheney was taken outside by officers and Herrera was

arrested. Cheney spoke with Marx and advised she lived at the residence. She also said a child

stayed there, which Marx assumed was a grandchild. Marx talked to Cheney about consenting to

a search and she agreed. Marx went over a Consent to Search form with Cheney. Cheney signed

the form which allowed officers to search the residence, outbuildings, and vehicles. (Govt’s Ex. 2).

The form contained language that the person giving consent had not been threatened or forced in any

way and freely consented to the search. Officers found marijuana in the living room and drug

paraphernalia in a bedroom.

       Marx ran a registration check on a vehicle parked at the property showing it belonged to

Herrera and Cheney. A cellular telephone was seized from the automobile. Herrera and Cheney

denied using the phone, stating it did not work and was given to the children as a toy. Officers

downloaded telephone numbers stored on the phone.

       Cheney voluntarily initiated contact with law enforcement by going to the DEA office

several months prior to her husband’s arrest. At the time, Herrera was not living with her. She

spoke with Keeter while Marx, who had worked the case since 2001, listened to the conversation.

During the interview, Cheney confessed her and Herrera’s involvement with drug trafficking.

       Prior to grand jury proceedings, Cheney met with Keeter and Assistant United States

Attorney Kenny Elser as to whether she planned to follow through and testify before the grand jury.

She agreed to testify and was given immunity by the prosecutor. She was advised by the assistant



1. Herrera made numerous objections during the suppression hearing which were overruled. A court
may accept hearsay evidence at a suppression hearing if satisfied the statements were made and there
is nothing to raise serious doubts about truthfulness. United States v. Matlock, 415 U.S. 164, 175-77
(1974).

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United States attorney that she could be prosecuted for crimes and in order to obtain immunity

needed to cooperate fully with the government. She advised Keeter and Elser that she had at her

residence a box of records for Herrera’s telephones.

       On May 9, 2005, the grand jury returned indictments against Herrera and other defendants.

Cheney continues to cooperate and will be a trial witness. She has not been paid money for her

cooperation.

       On June 27, 2005, Marx and Kerry Keeter went to Cheney’s residence to inquire about the

box of documents regarding Herrera’s telephones. Cheney said she had not located these documents

but that she had found other documents in Herrera’s suitcase located in his vehicle. She told Keeter

she found the suitcase when retrieving Herrera’s clothes from the vehicle. Keeter did not direct or

ask Cheney to search the vehicle. Further, he did not know of the existence of the documents and

first learned of them when turned over by Cheney.

       April 7, 2005, Search

       The government has written a letter this date (Att. “A”) stating that it does not intend to offer

at trial the cell phone records and marijuana seized as a result of the April 7, 2005, search.

Accordingly, defendant’s motion to suppress these items should be dismissed as moot. Also, I have

dismissed as moot a motion for continuance of the suppression hearing in order to have Cheney

testify regarding her consent to the search.

       June 27, 2005, Seizure

       Herrera contends that on June 27, 2005, when Cheney delivered documents to Keeter and

Marx belonging to Herrera, Cheney was acting as a government agent and her actions violated the

Fourth Amendment. A search by a private citizen does not implicate the Fourth Amendment unless


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the citizen was acting as a government agent. United States v. Smith, 383 F.3d 700, 705 (8th Cir.

2004) (citation omitted). Chief among the factors to consider in determining whether the private

citizen was acting as an agent is whether the government had knowledge of and acquiesced in the

intrusive conduct, whether the citizen intended to assist law enforcement agents or instead acted to

further his own purposes, and whether the citizen acted at the government’s request. Id. (citations

omitted).

       The hearing testimony established that Special Agent Keeter had no knowledge of the

seizure of Herrera’s property by Cheney and that Cheney was not acting at the government’s request

or direction in the matter. The circumstances of Cheney’s actions suggest she was motivated by a

desire to further her own interests in cooperating with the government, just as she had on other

occasions. I find that Cheney did not act as a government agent and her actions are not subject to

Fourth Amendment scrutiny.


CONCLUSION

       Based on the above, I recommend that Herrera’s motion to suppress the fruits of the April

7, 2005, be dismissed as moot and that the motion to suppress the fruits of the June 27, 2005, search

and seizure be denied.

       The parties have ten days from receipt of this report and recommendation in which

to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

objections may result in waiver of the right to appeal questions of fact. The parties are

reminded that objections must be both timely and specific to trigger de novo review by the

district court.



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      DATED this 29th day of September 2005.



                                        /s/Beverly Stites Jones
                                        HON. BEVERLY STITES JONES
                                        UNITED STATES MAGISTRATE JUDGE




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